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                                                                               FILED
   1   Name: Fernando Gastelum
                                                                               Jan 21 2025
       Address: 209 W. 9 th Street, Casa Grande, AZ 85122
   2   Telephone Number: Number: 520-560-0927                             CLERK, U.S. DISTRICT COURT
                                                                       SOUTHERN DISTRICT OF CALIFORNIA
   3   Email: fernandog8899@gmail.com                                  BY        s/ armincortez  DEPUTY


   4                           UNITED ST ATES DISTRICT COURT
   5                         SOUTHERN DISTRICT OF CALIFORNIA

   6                                                              '25CV0153
                                                        Case No.: - -------
                                                                            JLS JLB
   7    FERNANDO GASTELUM,
                                                             VERIFIED COMPLAINT FOR:
   8                          Plaintiff,
                                                           1. Violation of the ADA
   9    vs.
        MACY'S INC.                                        2. Violation of Unruh Civil Rights Act
  10
  11                           Defendant.                  3. Violation Of The Disabled Persons
                                                              Act
  12
  13                                                       4. Malice and Oppression

  14                                                I.
  15                                             PARTIES

  16   A. Plaintiff.
  17   1. Plaintiff is a senior citizen with physical disabilities.

  18   2. Plaintiff is missing a leg.

  19   3. Plaintiff is an ADA Tester.
       4. Plaintiff lives in Casa Grande, Arizona, with his extended family:
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   1   5. Since 2015, Plaintiff has been using a wheelchair for mobility in locations that are
   2      designed for wheelchair use:

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  16
       6. Plaintiffs missing leg is a physical impairment that substantially limits one or more
  17
          major life activities like walking, reaching, pushing and other musculoskeletal
  18
          activities that are normally associated with missing lower limbs.
  19
       B. Defendant Macy's, Inc. Is The "Public Accommodation" Against Whom
  20      Remedies Are Sought

  21   7. Macy ' s, Inc. is a public accommodation that owns and/or operates 508± places of
  22      public accommodation, many of which are located in California.
  23   C. The Particular Macy's Referenced Here is "Places of Public accommodation"
          Owned and Operated by Macy's Inc.
  24

  25   8. Macy's location in issue here is a p lace of public accommodation, not public

  26      accommodation itself; therefore, the remedies sought are not limited to this location

  27      but to Macy's, Inc. as the public accommodation.

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   l                               II
        FEDERAL QUESTION, SUPPLEMENTAL AND DIVERSITY JURISDICTION
   2
   3   9. The Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. §

   4      1331 and§ 1343(a)(3) & (a)(4) for violations of the Americans with Disabilities Act

   5      of 1990, 42 U.S.C. § 12101, et seq.
       10. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded on the
   6
          fact that the real property which is the subject of this action is located in this district
   7
          and that Plaintiffs cause of action arose in this district.
   8
       11. The Court has discretionary supplemental jurisdiction over allegations of Unruh Civil
   9
          Rights Act claim relative to architectural barriers, but, to the best of Plaintiffs
  10
          understanding, the Court has supplemental jurisdiction over non-architectural Unruh
  11
          policy violations.
  12
       12. This Court also has diversity jurisdiction pursuant to 28 U.S.C. §§ 1332 based on:
  13         A. Plaintiff is a citizen of the state of Arizona; and
  14         B. Defendant is a citizen of the State of Delaware; and
  15         C. The amount in controversy, including (1) cost of compliance with injunctive
  16             relief, (2) statutory damages, and (3) attorney ' s fees, all of which, to the best
  17             of Plaintiffs estimate, greatly exceed the statutory threshold of $75,000.00.

  18   13. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded on the

  19      fact that the real property which is the subject of this action is located in this district
          and that Plaintiffs cause of action arose in this district.
  20
  21
                                      III
  22             FACTUAL ALLEGATIONS APPLICABLE TO ALL COUNTS

  23   14. On April 23, 2024, Plaintiff visited and shopped at Macy's located at 3000 Plaza
  24      Bonita Rd. National City, CA 91950 where he was denied full and equal access.
  25   15. Plaintiff used his wheelchair while shopping at the Macy's store.
  26   16. During his visit, Plaintiff encountered the following barriers to accessibility that
  27      denied him full and equal access:

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   1          A. Clear width of accessible routes was less than 36" between displays of
   2              merchandise. This condition made it more difficult for Plaintiff to maneuver

   3              his wheelchair between displays of merchandise. This condition violates

   4              accessibility standards at 403. 5.1.

   5          B. There were numerous protruding objects that reduced the clear width of
                  accessible routes between rows of merchandising displays. This condition
   6
                  made it more difficult for Plaintiff to maneuver his wheelchair between
   7
                  displays of merchandise. This condition violates accessibility standards at
   8
                  307.5.
   9
       17. Remediation of barriers listed above is readily achievable.
  10
       18. Plaintiff has specific intent to return to the Store referenced above once he has
  11
          determined that the Store is ADA and Unruh compliant.
  12   19. Plaintiff is otherwise deterred from conducting business at Macy's at this location, or
  13      any other store owned or operated by Macy's, Inc. because Macy's, Inc., as the
  14      public accommodation, has failed to comply with the non-discriminatory provisions
  15      of the ADA.
  16                                            IV CLAIMS
  17                               Count One - Violations Of The ADA
  18                                     (42 U.S.C. § 12101, et seq.)

  19   20. Plaintiff realleges all allegations elsewhere in this Verified Complaint.
  20   21. Macy's store location referenced here displayed Macy's failure to abide by the

  21      primary anti-discrimination directive of 42 U .S.C. § 12182 in the following non-

  22      exclusive particulars:
             1.   Macy's is utilizing standards, criteria or methods of administration that have
  23
                  the effect of discriminating on the basis of Plaintiffs disabilities; and
  24
            11.   Macy' failed to make reasonable modifications in policies, practices, or
  25
                  procedures, when such modifications are necessary to afford goods, services,
  26
                  facilities, privileges, advantages, or accommodations to individuals with
  27
                  disabilities; and
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   1       111.      Macy ' s failed to remove architectural barriers where such removal was readily
   2                 achievable.

   3   22. Macy's employs a discriminatory policy and/or practice of positioning its merchandise

   4      in a manner that prevents Plaintiff access to such merchandise.

   5   23. Macy's discriminated against Plaintiff on the basis of his disability by failing to make
          reasonable modifications that were necessary to accommodate Plaintiffs disability.
   6
       24. Plaintiff has reasonable grounds to believe that he is about to be subjected to
   7
          discrimination in violation of the ADA at any Macy's store.
   8
       25. Plaintiff is not required to engage in a futile gesture of visiting each and every Macy' s
   9
          store to experience discrimination because he has actual notice that Macy's has no
  10
          intention of complying with the ADA.
  11
       26. Plaintiff is deterred from visiting any Macy's store.
  12      WHEREFORE, Plaintiff requests relief as follows:
  13
                  A. Declaration that at the commencement of this action Macy's was in violation
  14                 of the specific disability laws detailed above; and
  15              B. Order Macy's to:
  16
                     1.    Cease and desist from utilizing standards, criteria or methods of
  17                       administration that have the effect of discriminating on the basis of
  18                       Plaintiffs disabilities; and
  19                 11.   Make reasonable modifications in policies, practices, or procedures, when
  20                       such modifications are necessary to afford goods, services, facilities,
  21                       privileges, advantages, or accommodations to Plaintiff; and

  22                 iii. Remove architectural barriers at all its stores where such removal was

  23                       readily achievable.

  24              C. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and

  25              D. The provision of whatever other relief the Court deems just, equitable and
                     appropriate.
  26
  27                         Count Two - Violation Of The Unruh Civil Rights Act
                                          (Cal. Civ. Code§ 51-53.)
  28
       27. Plaintiff realleges all allegations elsewhere in this Complaint.
                                                             5
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       28. The Unruh Civil Rights Act ("Unruh Act") guarantees, inter alia, that persons with
   2      disabilities are entitled to full and equal accommodations, advantages, facilities,
   3      privileges, or services in all business establishment of every kind whatsoever within

   4      the jurisdiction of the State of California. Cal. Civ. Code §5l(b). Unruh Act also

   5      provides that a violation of the ADA is a violation of the Unruh Act. Cal. Civ. Code,
          § 5 l(f).
   6
       29. Macy's violated the Unruh Act by denying Plaintiff's rights to full and equal access.
   7
       30. Defendant's violation of the Unruh Act makes it responsible for statutory civil
   8
          penalty. (Civ. Code§ 55.56(a)-(c).)
   9
          WHEREFORE, Plaintiff requests relief as follows:
  10
              A. Declaration that at the commencement of this action Macy's was in violation
  11
                  of the specific requirements of disability laws detailed above; and
  12
              B. Order that Macy's remediate each and every inaccessible element, policy and
  13
                  procedure in the stores that are subject of this Verified Complaint; and
  14
              C. For damages in an amount no less than $4,000.00 per Unruh violation per
  15
                  encounter as alleged above; and
  16
              D. For treble damages pursuant to Cal. Civ. Code §3345(b); and
  17
              E. For punitive damages as more fully alleged below; and
  18
              F. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and
  19
              G. The provision of whatever other relief the Court deems just, equitable and
  20
                  appropriate.
  21
                        Count Three - Violation Of The Disabled Persons Act
  22                                (Cal. Civ. Code §§54-54.3)

  23   31. Plaintiff realleges all allegations elsewhere in this Complaint
  24   32.Macy's violated the DPA by denying Plaintiff equal access to its public
  25      accommodation on the basis of his age and disability as outlined above.
  26   33. The DPA provides for monetmy relief to "aggrieved persons" who suffer from
  27      discrimination on the basis of their disability.
  28   34. Plaintiff has been aggrieved by Macy's non-compliance with accessibility laws.

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   1   35. Pursuant to the DPA, Plaintiff is further entitled to such other relief as the Court
   2      considers appropriate, including monetary damages in an amount to be proven at trial,
   3      but in no event less than $1,000 .00. Cal. Civ. Code§ 54.3.
   4   36. Pursuant to the DPA, Plaintiff is entitled to costs in an amount to be proven at trial.
   5      Cal. Civ. Code§ 54.3.
   6      WHEREFORE, Plaintiff demands judgment against Defendant as follows:
   7          A . Declaratory Judgment that at the commencement of this action Macy's was in
   8             violation of the specific requirements of the DPA; and
   9          B. For damages in an amount no less than $1,000.00 per violation per encounter;
  10             and
  11          C. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and
  12          D. For punitive damages as alleged below; and
  13          E. The provision of whatever other relief the Court deems just, equitable and
  14             appropriate.
  15                                       V
                    MACY'S'S MALICE AND OPPRESSION OF PLAINTIFF
  16
                       SUPPLEMENTING ALL ST ATE LAW CLAIMS
  17                           (Civ. Code Article 3, §3294)

  18   37. Plaintiff realleges all allegations elsewhere in this Verified Complaint.
  19   38. Macy's intentionally narrows the accessible routes between displays of merchandise
  20      to maximize the selling space and increase profits.
  21   39. By its continuing and unrelenting discrimination against people with disabilities,
  22      including Plaintiff, Macy's is and has been guilty of oppression and malice.

  23   40. Macy's malice and oppression of people with disabilities are intentional,

  24      premeditated, and specifically designed as a marketing strategy.
       41. "Malice" includes "despicable conduct which is carried on by the defendant with a
  25
          willful and conscious disregard of the rights or safety of others," including Plaintiff.
  26
       42. "Oppression" means despicable conduct that subjects a person to cruel and unjust
  27
          hardship in conscious disregard of that person's rights.
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       43. "Despicable conduct" has been described as conduct that is "so vile, base,
   2      contemptible, miserable, wretched or loathsome that it would be looked down upon
   3      and despised by ordinary decent people." (Lackner v. North (2006) 135 Cal.App.4th

   4      1188, 1210.)

   5   44. Plaintiff alleges that intentional segregation and discrimination of the type alleged
          here, and indeed any segregation and discrimination against any member of a
   6
          protective class, is malicious and oppressive as a matter of law.
   7
       45. In addition to the actual damages, Plaintiff seeks the following relief:
   8
          A. Imposition of damages for the sake of example and by way of punishing Macy's
   9
              in an amount sufficient to deter, make example of, and punish Macy's in the form
  10
              of punitive damages; and
  11
          B. Disgorgement of ill-gotten profits realized through intentional discrimination.
  12
                                  REQUEST FOR TRIAL BY JURY
  13          Plaintiff requests a trial by a jury on issues triable by a jury.
  14                                         VERIFICATION
  15          Plaintiff verifies under the penalty of pe1jury that the above statements of fact are
  16   true and correct to the best of his knowledge, information, memory, or belief.
  17          RESPECTFULLY SUBMITTED this 10 th day of January, 2024

  18                                        r --;?'/ ~ --                  ~
                                            Fernando Gastelum
  19                                        Pro Se
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